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                                                Exhibit A


                                            (Wilen Declaration)




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                              IN THE UNITED STATES BANKRUPTCY COURT
                                   FOR THE DISTRICT OF DELAWARE

                                      )
    In re:                            ) Chapter 11
                                      )
    CENTER CITY HEALTHCARE, LLC d/b/a ) Case No. 19-11466 (KG)
    HAHNEMANN UNIVERSITY HOSPITAL, et )
    al.,1                             ) Jointly Administered
                                      )
                        Debtors.      )
                                      )

             DECLARATION OF ALLEN WILEN IN SUPPORT OF DEBTORS’
               OBJECTION TO MOTION OF TENET BUSINESS SERVICES
        CORPORATION AND CONIFER REVENUE CYCLE SOLUTIONS, LLC FOR
          ENTRY OF AN ORDER (I) COMPELLING PAYMENT OF ALL UNPAID
        POSTPETITION AMOUNTS PURSUANT TO 11 U.S.C. § 503(B)(1) OR, IN THE
         ALTERNATIVE, (II) GRANTING RELIEF FROM THE AUTOMATIC STAY
           TO THE EXTENT NECESSARY TO TERMINATE THE TSA AND MSA

             I, Allen Wilen, hereby declare the following, under the penalty of perjury:

             1.          I am the Chief Restructuring Officer (“CRO”) of Philadelphia Academic Health

System, LLC and certain of its subsidiaries, each a debtor and debtor-in-possession (each,

individually, a “Debtor” and, collectively, the “Debtors”) in the above-captioned chapter 11

cases.

             2.          I have served as CRO for the Debtors since April 8, 2019. In such capacity, I am

generally familiar with the Debtors’ day-to-day operations, business and financial affairs, and

books and records. I am above 18 years of age, and I am competent to testify.



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             The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification
             number, are: Center City Healthcare, LLC (3341), Philadelphia Academic Health System, LLC (8681), St.
             Christopher’s Healthcare, LLC (8395), Philadelphia Academic Medical Associates, LLC (8165), HPS of
             PA, L.L.C. (1617), SCHC Pediatric Associates, L.L.C. (0527), St. Christopher’s Pediatric Urgent Care
             Center, L.L.C. (6447), SCHC Pediatric Anesthesia Associates, L.L.C. (2326), StChris Care at Northeast
             Pediatrics, L.L.C. (4056), TPS of PA, L.L.C. (4862), TPS II of PA, L.L.C. (5534), TPS III of PA, L.L.C.
             (5536), TPS IV of PA, L.L.C. (5537), and TPS V of PA, L.L.C. (5540). The Debtors’ mailing address is
             230 North Broad Street, Philadelphia, Pennsylvania 19102.



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             3.          I submit this declaration in support of the Debtors’ Objection to Motion of Tenet

Business Services Corporation and Conifer Revenue Cycle Solutions, LLC for Entry of an Order

(I) Compelling Payment of All Unpaid Postpetition Amounts Pursuant to 11 U.S.C. § 503(b)(1)

or, in the Alternative, (II) Granting Relief from the Automatic Stay to the Extent Necessary to

Terminate the TSA and MSA (the “Objection”).2

             4.          Except as otherwise indicated herein, all facts set forth in this declaration are

based on my personal knowledge, my discussions with other members of the Debtors’

management team and the Debtors’ advisors, and my review of the relevant documents and

information concerning the Debtors’ operations, financial affairs, and refinancing and

restructuring initiatives. If called upon to testify, I could and would testify competently to the

facts set forth herein.

I.           The Debtors’ Need for the Tenet Parties’ Services is Diminishing

             5.          As reflected in previous pleadings filed with the Court, significant steps have

been taken since the outset of these cases to wind down HUH’s operations, and the Debtors

expect to close HUH by early September 2019. Following the Petition Date, the average in-

patient census at HUH decreased to 36 patients, as compared to 184 in-patients in the month

preceding the bankruptcy filing, and 203 patients in May 2019. On July 17, 2019, the Debtors

ceased admissions at HUH, other than through the emergency department, and, as of the date of

this Objection, there are no inpatients at the hospital. Because Conifer’s fees are largely based

upon patient billings, the reduced patient volumes at HUH stemming from the wind-down will

cause a significant reduction in amounts due to Conifer. More fundamentally, the closure of

HUH reduces the value of the Tenet Parties’ services, and warrants a reduction in the weekly


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             Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Objection.



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amounts to which the Tenet Parties may otherwise be entitled under the TSA and MSA.

Likewise, following the closing of a sale of STC and its related practice groups, which sale is

projected to close in October 2019, the need, if any, for the Tenet Parties’ services would be

greatly reduced.

II.          The Tenet Parties’ Sub-Optimal Performance

             6.          As detailed below, Tenet and Conifer’s sub-optimal performance under the TSA

and MSA, respectively, has caused the Debtors’ estates to suffer considerable financial harm:

             Conifer’s Performance: Among other examples, Conifer’s poor performance under the
             MSA can be categorized as follows:

                    o Collection Failures: Despite Conifer’s representations that it performed at a high
                      level in collecting revenue for Tenet, following the Acquisition, Conifer’s
                      revenue collection performance has persistently fallen short of goal. By way of
                      example, Conifer’s cash collections in February 2018, just one month after the
                      Acquisition, were $16 million short of that month’s goal, at 59.3% of goal.
                      Conifer’s cash collections in March 2018 were $9 million short of that month’s
                      goal, at 80.6% of goal. As such, within 60 days after the Acquisition, Conifer’s
                      performance cost the Debtors $25 million in lost revenue. The Debtors never
                      recovered from this deficit during the remainder of 2018 and its recoveries during
                      2019 have thus far been deficient as well.

                    o Reporting Failures: Despite repeated follow-up requests, Conifer has failed to
                      provide many of the daily, weekly and monthly reports that it is required to
                      provide to the Debtors under the MSA, including aging reports, reports relating
                      to patients discharged without final bills, point of sale cash collection rates and
                      write-off rate reports. Conifer’s failures to provide clear reporting on these
                      matters, or to provide any such reports whatsoever, creates challenges to the
                      Debtors’ operations. For example, a lack of up-to-date and accurate reporting
                      concerning write-offs for bad debt and Conifer’s failures to timely process write-
                      offs for bad debt have impacted the Debtors’ availability to borrow funds needed
                      to operate from their secured lender. The Debtors estimate that Conifer’s failure
                      to process requested write-offs of bad debt have cost them $8 million in
                      availability since the Petition Date.

                    o Poor Intake Performance and Technical Denials: Conifer personnel perform
                      patient registration and intake services for the Debtors. In connection with these
                      services, Conifer’s errors in recording information have resulted in denials of
                      payment by third-party payors, which are known as “technical denials.” The
                      losses that the Debtors have incurred as a result of these denials are substantial.


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                          As of early October 2018, for example, HUH and STC were experiencing $40
                          million in initial or partial pay denials, of which almost $28 million were due to
                          technical denials arising from Conifer errors or omissions. Therefore, nearly two
                          thirds of all claims denials related to technical reasons, for which Conifer was
                          solely responsible.

                    o Failure to Follow Up on Zero-Pay Accounts: Conifer has repeatedly failed to
                      follow up on “zero-pay accounts,” which are claims pending for more than 60
                      days with no action by the third-party payor. A review of accounts receivable in
                      October of 2018, for example, revealed $19 million in “zero-pay accounts.”
                      Based on their review, the Debtors determined that Conifer had failed to pursue
                      these open matters on a timely basis (which, per industry standards, would have
                      required Conifer to follow-up on open claims within 30-40 days).

                    o Failure to Timely File Appeals When claims are initially denied or partially
                      denied, Conifer is obligated to pursue appeals in accordance with the time
                      requirements established by third-party payors. On a number of occasions,
                      Conifer has failed to timely pursue appeals, resulting in several large accounts
                      receivables (each in excess of $1 million) being out of time for further appeal. In
                      other instances, Conifer has (i) neglected to take any appeal of the initial
                      determination, (ii) cryptically flagged claims as “legal” without sufficient detail
                      to determine required next steps, and (iii) provided inadequate notice to the
                      Debtors of actions needed to be taken in connection with pending appeals.

                    o Further Financial Consequences Stemming from Conifer’s Failures: As a
                      consequence of Conifer’s failures in revenue cycle performance as outlined
                      above, the dollar value of disputed account receivable files as of February 2019
                      was $89 million, of which $62 million were either closed or beyond time limits
                      for recovery, with the majority simply having been closed by Conifer.

                          Moreover, Conifer’s rate of first pass/initial denials for 2018 was 16.79% for
                          HUH and 16.44% for STC. Both of these rates exceed significantly the standard
                          industry rates of 12% to 12.5%. These excess denials have resulted in both
                          substantial delays in the receipt of payments and losses of payments in instances
                          where appeals were not timely pursued. Based on the value of the initially
                          denied claims at the Hospitals during 2018, a 12.5% initial denial rate would
                          have generated an additional $7,584,800 for the Debtors.

             Tenet Disputes: As described in the First Day Declaration, the Debtors’ disputes with
             Tenet include the following:

                    o ASA-Related Disputes. Among other issues, following the Acquisition, disputes
                      arose between the Debtors and Tenet (and the Debtors instituted litigation) with
                      regards to the “Net Working Capital Adjustment” provided for under the ASA,
                      most notably, for overstated amounts of accounts receivable totaling
                      approximately $21 million. The Debtors also learned that approximately $5


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                          million of amounts received by Tenet at closing in order for it to pay certain
                          accounts payable was never in fact paid. These issues resulted in a significant
                          liquidity shortfall that adversely affected the Debtors’ operations almost
                          immediately after closing of the Acquisition.

                   o TSA Disputes: The Debtors believe that the Tenet IT Platform – upon which the
                     Debtors’ operations and ability to provide patient care is highly dependent – is
                     outdated and contains functionality gaps that impair (i) the efficient management
                     of patients and patient data production of standard key performance indicators, (ii)
                     financial management functions, and (iii) revenue cycle, supply chain and other
                     important customary functions.

             7.          Given the significant deficiencies in Conifer’s performance, the Debtors enlisted

Ensemble RCM, LLC (“Ensemble”) for the period February 2019 through June 2019 to provide

revenue cycle services similar to those undertaken by Conifer. In exchange for its services,

Ensemble agreed to payment of $150,000 per week, which is substantially less than the

approximately $430,000 per week sought by Conifer under the MSA. Notably, even with

Ensemble’s limited ability to access information on the Tenet IT Platform, the Debtors

experienced an increase in cash collections as a result of Ensemble’s efforts.

III.         An Order Granting the Motion would Cause Significant Harm to the Debtors and
             Other Creditors

             8.          Any order compelling the Debtors to pay immediately the Tenet Parties’ asserted

post-petition claims would cause immediate and substantial harm to the Debtors’ businesses, as

well as other creditors and parties in interest, since the Debtors would be required to divert funds

budgeted for other critical purposes in order to pay the Tenet Parties’ claims. Moreover, as

reflected in the DIP budget attached to the Interim DIP Order [D.I. 172], if the Debtors are

required to immediately pay the $3.2 million that the Tenet Parties are requesting, the Debtors

would likely be forced to shut down operations at the Hospitals on an extremely expedited time

frame, which would be disastrous and compromise patient safety. Such a result would also

deprive the Debtors’ estates of the ability to maximize value for all creditors, including the Tenet


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Parties, since it would impair the Debtors’ efforts to sell STC and its related practice groups as a

going concern, for the benefit of their estates and creditors.

             9.          Likewise, given the critical role of the Tenet Parties’ services in the Debtors’

operations, any termination of the TSA and MSA would lead to an abrupt and immediate shut

down of operations at the Hospitals, the results of which would be disastrous and risk harm to

patients, employees and the community at large.

IV.          Additional Opportunities to Generate Revenue

             10.         For example, as noted above, despite the fact that the Tenet Parties’ participation

is needed to recover a significant amount due from a third party, the Tenet Parties have thus far

declined to cooperate even though their participation would impose minimal burden upon them.

             11.         [REDACTED




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             12.         [REDACTED




                                                           ].

             Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct.

Executed on August 9, 2019                                 /s/ Allen Wilen
                                                           Allen Wilen
                                                           Chief Restructuring Officer




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